        Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 1 of 14




                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


NICOLE CHASE                                   :    NO.: 3:18-cv-00683 (VLB)
                                               :
v.                                             :
                                               :
NODINE’S SMOKEHOUSE, INC., et al               :    December 17, 2021


             PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
         PLAINTIFF’S MOTION IN LIMINE TO PRECLUDE THE TESTIMONY
         OF CHIEF ARCIERO AND DEFENDANT EXHIBITS CD-S and CD-NN

        The plaintiff, through counsel, here moves to preclude the admissibility of

the following evidence at trial:

     1) Defendants’ Exhibit CD-S emails regarding Connecticut State Police

        Investigation of Chase Matter;

     2) Defendants’ Exhibit CD-NN, the Internal Affairs investigation of

        Christopher Arciero; and

     3) “Expert” Testimony of Chief Arciero.


        For the reasons outlined below, the documents and testimony should be

precluded in their entirety, except as expressly consented to herein.

I.      Exhibit CD-S and the Substance Contained in the Emails Is Inadmissible

     A. Relevant Facts

        On February 9, 2018, Plaintiff’s Counsel sent a notice of representation and

Notice of Claim to Chief Arciero and the Town of Canton. Exhibit 1 to this Motion.

Plaintiff’s counsel specifically requested that Chief Arciero refer the investigation

of his officers to the Connecticut State Police or an outside law enforcement
      Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 2 of 14




agency for investigation. Exhibit 1, p. 2.       Chief Arciero was specifically

mentioned in the Notice of Claim, dated February 9, 2018. Exhibit 1 p. 1.

       On April 12, 2018, plaintiff, through counsel, served her original state court

complaint on the Canton police defendants. Chief Arciero was named as an

individual defendant.

       On April 25, 2018, the Canton Board of Selectman authorized Chief Arciero

to initiate an internal affairs investigation based upon the Chimes Letter and

Notice of Claim. Arciero Internal Affairs Investigation, p. 3, attached as Exhibit 2.

       On April 26, 2018, Chief Arciero sent an email that purported to confirm a

conversation with Sgt. Alain Bisson about the of a review of “the file” by Bisson,

some senior detectives, and several State Attorneys. On June 11, 2018, Arciero

followed up and Bisson confirmed that there would be no written summary of

their findings on this case. E-mail exchanges between Christopher Arciero and

Alain Bisson, attached as Exhibit 3. 1

       Prior to accepting his position as Chief of the Canton Police Department in

2010, he had been with the Connecticut State Police for 26 years. He was a Major

the second highest rank in CSP, when he left to become Chief of the Canton

Police.

    B. Discussion

    1. Exhibit CD-S is inadmissible hearsay.




1
      This is the only written document that indicates that CSP or any other
organization ever reviewed the Chase matter. CSP has not provided any
confirmation, but plaintiff counsel’s informal discussions painted a very different
picture than what has been portrayed by Chief Arciero.
                                             2
      Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 3 of 14




      The emails contain multiple levels of inadmissible hearsay, that do not

meet either the business record (803(6)) or public record (803(8)) exceptions. An

interdepartmental communication about a review of the “Chase file” is not a

regularly conducted activity under 803(6)(B). The informal nature of the

interaction also does not meet the threshold for a “legal duty to report” under

803(6).

      The circumstances of the emails also indicate a lack of trustworthiness.

Chief Arciero’s “confirmation of what he’s been told” is never confirmed in

writing, and CSP explicitly states that nothing will be put into writing.   Chief

Arciero’s “confirmation of what he’s been told” also conflicts with other

information received by plaintiff’s counsel. Finally, why is Chief Arciero asking

the Connecticut State Police “if there are grounds for Nicole Chase to pursue

workplace harassment claims against Calvin Nodine?” This is plainly Chief

Arciero’s self-serving effort to create a paper trail in support of his Department,

his employees, and himself.

      Even if the emails purported to state what Chief Arciero claims to have

been told, it would be hearsay based upon other hearsay, lacking any foundation.

   2. Exhibit CD-S is Irrelevant FRE 401

     The opinions that Chief Arciero claims to have been told: (1) “that there was

no probable cause to pursue charges against Nodine and that it would not be

pursued,” (2) that there may be grounds for Mrs. Chase to pursue workplace

harassment charges against Nodine, and (3) you and others (?) had no issues




                                          3
          Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 4 of 14




with Detective’s investigations or interviews, are completely irrelevant to the

remaining issues in this case against the Canton Police defendants.

          They have no bearing on the issues of whether the defendants provided

false and misleading information to obtain an arrest warrant against Nicole

Chase, and whether they were motivated by gender bias.

    3. The prejudice of the Admission of Exhibit CD-S would outweigh any
       relevance (FRE 403)

          Even, assuming arguendo that the emails were relevant, the prejudice of

admitting Chief Arciero’s unconfirmed “confirmatory” unclear statement, for

which there is no documentation whatsoever, would clearly outweigh any

probative value, confuse the jury, and create a “mini-trial” about what actually

happened. It would open the door for the plaintiff to put on rebuttal evidence that

when this matter was reviewed by the U.S. Attorney’s office, they took a much

harsher view of the conduct of the Canton Police Defendants. This would only

delay resolution of the trial and further confuse the jury.

    II.      Exhibit CD-NN Arciero’s Internal Affairs Investigation, and the Attached
             Exhibits Are Inadmissible

    A. Additional Relevant Facts

    During most of the Internal Affairs Investigation, Chief Arciero was a named

defendant in this lawsuit. 2    The Canton police witnesses were interviewed in May

– June 2018.

          Chief Arciero’s report was responsive to the allegations in plaintiff’s

counsel’s letter, dated February 9, 2018, and plaintiff’s original complaint, served



2
          The court dismissed the claims against Chief Arciero on February 9, 2019.
                                             4
        Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 5 of 14




upon the defendants on April 12, 2018. Arciero IA Report, p. 3, 17, 18, 19. The

letter and complaint were sent prior to the start of the lawsuit, before any

discovery had been obtained. Chief Arciero’s IA Report was not addressed to

the issues that were more fully addressed and developed through discovery ad

the consultation of experts.

        Most of Chief Arciero’s IA report consists of a marshaling of hearsay

evidence contained in the contemporaneous documents that formed the basis of

investigation of Nicole Chase’s complaint and her arrest for making a false

statement.

        Based upon his analysis of the facts making up the record in this matter,

he reached the following conclusions:

   1. There is no basis to believe that Adam Gompper or Dispatcher Canney

        intentionally or negligently misconstrued Nicole Chase’s complaint when

        Officer Gompper spoke to her on May 7, 2017. Arciero IA Report, p. 7.

   2.    Adam Gompper did not violate any Canton Police General Order by

        speaking with Nicole Chase in the lobby on May 7, 2017. Arciero IA Report,

        p. 11.

   3.    Adam Gompper’ s treatment of Nicole Chase did not violate Canton Police

        workplace order 6.6 (Treating victims of sexual assault). Arciero IA Report,

        p. 12.

   4. Adam Gompper should not have put his conclusions about the lack of

        probable cause to charge Calvin Nodine in his Police Report, dated June

        21, 2017. It violated General order 6.6. Arciero IA Report, p. 14.



                                           5
      Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 6 of 14




5. Detective Colangelo should have had better communication with his

      supervisors and should have discussed the disposition of the “Butt-

      grabbing” claim with Nicole Chase. This violated General Order 6.1.

      Arciero IA Report, p. 17.

6.     There is no Canton Police General Order that relates specifically to the

      treatment of sex offenses, and so Detective Colangelo cannot be found to

      have violated any Canton Police General Order relating to his treatment of

      her. Arciero IA Report, p. 18.

7.     No factual basis for claim that John Colangelo spoke in a rapid staccato

      voice. Arciero IA Report, p. 18.

8.     There is no factual basis for a finding that Detective Colangelo engaged in

      “abominable” treatment in the manner that he conducted his interview.

      Arciero IA Report, p. 19.

9.         Detective Colangelo was legally required to justify the existence of

      probable cause. Arciero IA Report, p. 20.

10. It cannot be determined that any specific Canton Police Department

      General Order was violated with respect to Detective Colangelo's

      determination of probable cause. Detective Colangelo was entitled to rely

      on the premise that typical investigative functions of a police officer

      require the exercise of discretion and judgment. Arciero IA Report, p. 25.

11.     Det. Colangelo’s failure to follow up with Nicole Chase's emails about the

      status of the case, and failure to forward her revised statement to the




                                         6
      Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 7 of 14




      State’s Attorney for review was inconsistent with Gen. Ord. 1.7 and 6.6.

      Arciero IA Report, p. 27.

12. Det. Colangelo’s failure to notify Nicole Chase that she was a target of

      investigation and was the subject of arrest was “inconsistent” with Gen.

      Order 1.7 and 6.6. Arciero IA Report, p. 30.

13. Chief Arciero stated that he was unable to determine whether supervisory

      oversight of the investigation factored into and influenced the underlying

      probable cause determination. Arciero IA Report, p. 31.

14.     Chief Arciero stated that the evidence showed that Detective Colangelo

      believed that he was assisting Adam Gompper with the interviews. Arciero

      IA Report, p. 32.

15.      Chief Arciero reached the following conclusions as to violations of

      Police Policy as to Adam Gompper:

         a. Gen. Order 1.7 Violation of Police Ethics – not sustained

         b. Gen. Order 6.6 Sexual Assault Procedures – Not sustained

         c. Gen. Order 10.2 Report Writing – Sustained

      Arciero IA Report, p. 35 - 37.

16. Chief Arciero cannot conclude that Nicole Chase’s arrest warrant “lacked

      any indicia of probable cause.” Arciero IA Report, p. 37-38.

17.     Chief Arciero reached the following conclusions as to violations of

      Police Policy as to Detective Colangelo:

         a. Gen. Order 6.6 Sexual Assault investigation (Interview Process)– Not

            sustained



                                         7
      Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 8 of 14




          b. Gen. Order 6.6 Sexual Assault investigation (Investigation process) -

             sustained

          c. Gen. Order 10.2 Report Writing – sustained

          d. Gen. Order 6.1 Criminal Investigations – sustained

      Arciero IA Report, pp. 38-39.

      In addition, after plaintiff’s counsel’s letter, dated February 9, 2018 and the

complaint had been filed, Chief Arciero recommended numerous policy changes

to rectify the issues that had been raised by the treatment of Nicole Chase.

Arciero IA Report, p. 41.

   B. The Entire Report and Exhibits Are Inadmissible Hearsay

      Rule 808(8)(A)(ii) requires that a report is only admissible as a public

record to matters observed while under al legal duty to report. In this case, Chief

Arciero was not a witness to any of the incidents that are the subject of this

lawsuit, and recitation of all the facts contained in the internal affairs report is

based upon hearsay information and not admissible. Chalco v. Belair, 2019 WL

456162, at *5 (D. Conn., 2019).

      In addition, Arciero’s Internal Affairs Report does not have the indicia of

reliability justifying its admission as a public record. FRE 803(B). Factors in

assessing the reliability of a public record include: (a) the timeliness of the

investigation, (b) the special skills or experience of the official, (c) whether a

hearing was held and the level at which it was conducted, and (d) possible

motivation problems. Bridgeway Corp. v. Citibank, 201 F.3d 134, 143 (2d Cir.2000)




                                           8
      Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 9 of 14




(citing FED.R. EVID. 803(8)(C) advisory committee note): In re Parmalat Securities

Litigation, 477 F.Supp.2d 637, 640 (S.D.N.Y. 2007).

      Chief Arciero is obviously biased, and has a strong motive to protect his

officers, his Police Department and himself. He was authorized to produce the

report by the Canton Board of Selectman, who represents the Town and are

exposed to significant liability in this lawsuit. It is extremely unlikely that under

any circumstances, Chief Arciero would be prepared to present a completely

honest report that could be used as evidence against the Town.

      All the factual determinations were made by Chief Arciero, as opposed to a

factual hearing in front of a neutral administrative factfinder or tribunal. The

determinations made by an individual, less than neutral factfinder cannot be

considered reliable.

      The Report was produced nearly eighteen months after Nicole Chase’s

arrest, a significant lapse of time.

      In addition, although Chief Arciero may arguably be an expert on Canton

Police General Orders, he is not an expert on sexual assault investigations.

Chief Arciero has been an administrator as Chief of Police for Canton since 2010,

and a Major or Lt. colonel in the Connecticut State Police since 2008. He has

been a high-level administrator, and not been conducting sexual assault

investigations for at least twelve years. 3



3
   Defendants counsel has not produced Chief Arciero’s CV, in violation of the
Courts’ Joint Trial Memorandum Order, ¶8(b) and in Response to Plaintiff’s
Requests for Production, dated June 25, 2018, #25. See Plaintiff’s Interrogatories
and Production Requests, #25, attached as Exhibit 4. Plaintiff reserves the right
to supplement this Motion once Chief Arciero’s Resume is produced.
                                              9
      Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 10 of 14




      For all these reasons, Chief Arciero’s Internal Affairs Report does not have

the indicia of reliability required for admission under FRE 803(b).

   C. The Opinions and Conclusions Contained in Chief Arciero’s Investigative
      Report Are Inadmissible as Either Lay or Expert Testimony


      FRE 701 (Lay Opinion Testimony) requires an opinion from a non-expert to

be based upon the witness’ perception. Since Chief Arciero did not observe

anything firsthand, none of the opinions in his report ae admissible as lay

opinions.

      The use of expert testimony is “not permitted if it will usurp either the role

of the trial judge in instructing the jury as to the applicable law or the role of the

jury in applying that law to the facts before it.” United States v. Duncan, 42 F.3d

97, 101 (2d Cir. 1994). Courts will exclude opinions which would “merely tell the

jury what result to reach”, that are “phrased in terms of inadequately explored

legal criteria” or that “communicate a legal standard–explicit or implicit—to the

jury.” Hygh v. Jacobs, 961 F.2d 359, 363 (2d Cir. 1994).

      In particular, the Second Circuit has made clear that expert testimony that

the issue of whether or not probable cause exists is not properly the subject of

expert testimony. Cameron v. City of New York, 598 F. 3rd 50, 62 (2d Cir.

2010)(Improper in malicious prosecution case to permit prosecutor to opine on

the existence of probable cause); Simuro v. Shedd, 2016 WL 9526418, at *4 (D. Vt.,

2016); Soldo v. Village of Monticello, 2016 WL 4532212, at *5 (S.D.N.Y., 2016);

Spadaro v. City of Miramar, 2013 WL 12090197, at *4 (S.D.Fla., 2013).




                                          10
     Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 11 of 14




      Many of Chief Arciero’s opinions relate to the issue of probable cause and

should be excluded.

      The other opinion improperly tell the jury the factual findings that it should

reach. These should be excluded

      In addition, the remainder of Chief Arciero’s report is merely factual

narratives not based upon his personal knowledge. Simuro v. Shedd, 2016 WL

9526418, at *4 (D. Vt., 2016). A party may not present an expert to the jury solely

for the purpose of constructing a factual narrative based upon record evidence.

Scott v. Chipotle Mexican Grill, Inc., 315 F.R.D. 33, 45 (S.D.N.Y. 2016). Expert

testimony that merely makes the same point as counsel would in closing

argument should be excluded. Chin v. Port Auth. Of N.Y. & New Jersey, 685 F.3d

135, 161 (2d Cir. 2012).

      Chief Arciero’s report and purported testimony merely seeks to marshal

the evidence already in the record in a manner favorable to his Department and

his defendant officers. This is improper expert testimony.

      Chief Arciero’s testimony as to whether or not the conduct of Officer

Gompper and Detective Colangelo violated Canton Police Department policies is

similarly irrelevant. The Town of Canton’s polices and whether or not they have

been violated is irrelevant to the issue of whether the defendants have violated

Ms. Chase’s constitutional rights and cannot be used to determine whether the

defendants’ actions were objectively reasonable. Chalco v. Belair, 2019 WL




                                         11
           Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 12 of 14




456162, at *5 (D. Conn., 2019); Thompson v. City of Chicago, 472 F. 3rd 444 (7th Cir.

2006); Lopez v. City of New York, 186 F.Supp.3d 304, 313 n. 7 (S.D.N.Y., 2016). 4

           D.      Chief Arciero’s Testimony and the IA report Should
                   Be Excluded Under Rule 403

            None of Chief Arciero’s opinions contained in his Internal Affairs report

relating to whether or not the defendants violated Canton Police Policy are

relevant to the issues for the jury to decide. Admission of the issues that he

addresses in the report would only confuse the jury, create multiple mini-trials on

the Canton Police General Orders and cause significant delay.

           Chief Arciero’s marshaling of the facts or his testimony reflecting his

version of the facts on record would be highly prejudicial with little if any

probative value.        FRE 403.

           Chief Arciero’s Internal Affairs Report and the Exhibits contained therein

should be excluded in their entirety.

    III.        Chief Arciero Should Not Be Permitted to Testify to the Matters
                Contained in His Internal Affairs Report

           For the reasons stated above, Chief Arciero should not be permitted to

testify to the opinions contained in his report. Since he was not a firsthand

observer to the events that actually occurred, he also should not be permitted to




4
   The plaintiff recognizes that she may open the door for limited rebuttal
testimony on violations under certain circumstances. For example, if the plaintiff
seeks to introduce evidence of intentional violations Canton Police Policy as
circumstantial evidence of discriminatory intent for her Equal Protection
violations, appropriate testimony rebutting this may be potentially admissible. If
this occurs, the issue is best addressed at trial before the defendant presents her
case.
                                              12
     Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 13 of 14




marshal the evidence that already is contained in the record and comment and

draw conclusions about it.

CONCLUSION

      Wherefore, the plaintiff respectfully requests that her motion in limine be

granted.




                                      THE PLAINTIFF,
                                      NICOLE CHASE

                                      By:_ Lewis Chimes (CT 07023)
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                                      Mary-Kate Smith (Juris No. CT 26820)
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                                        13
     Case 3:18-cv-00683-VLB Document 268-1 Filed 12/17/21 Page 14 of 14




                                       CERTIFICATION


       I HEREBY CERTIFY that on the 17th day of December 2021 a copy of the
foregoing was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by email to all parties by
operation of the court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the court’s CM/ECF System.




                                              ___/s/ Lewis Chimes
                                                     Lewis Chimes




                                         14
